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           EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


   FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,
                                                   Case No. 2:20-cv-02600-SHL-tmp
   v.
                                                   JURY TRIAL DEMANDED
   VARSITY BRANDS, LLC, et al.,

                    Defendants.


   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC., et al.,

                    Plaintiffs,                    Case No. 2:20-cv-2782-SHL-tmp

   v.                                              JURY TRIAL DEMANDED

   VARSITY BRANDS, LLC, et al,

                    Defendants.

   JONES, et al.,

                    Plaintiffs,
                                                   Case No. 2:20-cv-02892-SHL-tmp
   v.
                                                   JURY TRIAL DEMANDED
   BAIN CAPITAL PRIVATE EQUITY, et al.,

                    Defendants.


            DECLARATION OF KATHERINE VAN DYCK IN SUPPORT OF
          PLAINTIFFS’ JOINT MOTION TO MODIFY SCHEDULING ORDERS

         I, Katherine Van Dyck, declare the following under penalty of perjury:

         1.     I am an attorney with the law firm of Cuneo Gilbert & LaDuca LLP, counsel for

  Plaintiffs, and Interim Co-Lead Counsel for Direct Purchasers in the above-captioned matter,
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  Fusion Elite, et al. v. Varsity Brands, et al., Case No. 2:20-cv-02600-SHL-cgc. I make this

  affidavit on personal knowledge and review of my files, except as otherwise indicated. I submit

  this declaration in support of Plaintiffs’ Joint Motion to Modify Scheduling Orders.

         2.      Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and

  Stripes Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne

  Radek, Lauren Hayes, and Janine Cherasaro (“Fusion Elite Plaintiffs”) served Defendants Varsity

  Brands, LLC, Varsity Spirit, LLC, and Varsity Spirit Fashion & Supplies, LLC (collectively,

  “Varsity”) and U.S. All Star Federation, Inc. (“USASF”) with requests for production of

  documents pursuant to Rule 34 of the Federal Rules of Civil Procedure on October 16, 2020 and

  October 19, 2020. Fusion Elite Plaintiffs also served Varsity and USASF with interrogatories

  pursuant to Rule 33 of the Federal Rules of Civil Procedure on November 25, 2020.

         3.      At the time Plaintiffs served their Requests for Production, the scheduling order

  they had just negotiated called for production of responsive data 100 days later, on January 25,

  2021, and document production 165 days later, on March 30, 2021. (No. 20-cv-2600, Dkt. 61 at

  2.) The parties’ discovery negotiations significantly shifted these the document and data

  production dates.

         4.      Counsel for Fusion Elite Plaintiffs, Varsity, and USASF engaged, from December

  2020 to May 2021, in near weekly telephone calls and accompanying correspondence regarding

  Varsity and USASF’s responses to Fusion Elite Plaintiffs’ requests for production. The parties

  have negotiated the proper custodians’ files and the time period for which they will be searched,

  appropriate search terms, the time period and data fields necessary for transactional data, and the

  form in which documents, ESI, and transactional data would be produced.




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           5.      Varsity began producing its data in March 2021, and, while it made several

  document productions in December 2020 and early 2021, it began the bulk of its custodial

  document production on June 14, 2021. It made additional productions in July, August, September,

  October, and November 2021, totaling 96,783 documents. 1 Counsel has, simultaneously,

  continued to engage with Varsity regarding the completeness of its productions and the

  interpretation of various fields appearing in Varsity’s transactional data, as well as deficiencies in

  Varsity’s transactional data. Certain of Varsity’s document and data productions have occurred up

  to nine months later (for data) and 7 months later (for documents) than what the parties originally

  contemplated when they negotiated the deadlines at issue here.

           6.      Since the Court’s ruling on Fusion Elite Plaintiffs’ motion to compel discovery

  from USASF, those parties have exchanged multiple letters, emails, and phone calls regarding

  search terms, custodians, and time frame. Based on the parties’ discussions, over the course of the

  last four and a half months, they have reached agreement with USASF regarding most ESI

  parameters. In the interim, USASF has produced 8,023 documents on a rolling basis. Productions

  for numerous of USASF’s custodians are not yet complete, as the search term negotiations are not

  complete.

           7.      In light of the pending Motion to Strike, Fusion Elite Plaintiffs, Varsity, and

  USASF have agreed that Plaintiffs will withdraw Requests related to sex abuse, without prejudice,

  until and when the Motion to Strike is denied and that Plaintiffs and Varsity will promptly meet

  and confer regarding the scope of the Requests at that time.

           8.      Fusion Elite Plaintiffs have served 24 subpoenas duces tecum on non-party

  businesses between November 2, 2020 and the present:



  1
      This figure does not include documents Varsity produced the day this Motion was filed.


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    Subpoenaed           Date of      Documents          Subpoenaed         Date of     Documents
       Party             Service      Produced              Party           Service     Produced

                                                       Cheer and Dance
   Bain Capital LP      11/2/2020                                          2/17/2021            -
                                          19           Extreme

   Charlesbank                                         Diamond Cheer
                        11/2/2020                                          2/17/2021            -
   Capital Partners                       25           & Dance

   Partners Group                                      Midwest Cheer
                        11/2/2020                                          2/17/2021            -
   AG                                     425          and Dance

   Ares Capital
                       11/12/2020                      Xtreme Spirit       2/17/2021            -
   Corp.                                 6,762

   Crescent
                       11/12/2020     1,200 pages      Deep South          2/18/2021            -
   Capital Group

                                                       Jamz Cheer &
   Jefferies LLC       11/12/2020                                          2/18/2021            -
                                        77,028         Dance

   The Goldman                                         Redline
                       11/12/2020                                          2/18/2021            -
   Sachs Group                           1,794         Championships

   Rebel Athletic                                      Victory Athletics
                       11/12/2020          9                               2/18/2021            -
   Inc.                                                LLC

   GK Elite                                            Worldwide Spirit
                       11/12/2020                  -                       2/18/2021            -
   Sportswear Inc.                                     Association

   Nfinity Athletic                                    Pricewaterhouse
                       11/12/2020                  -                       9/29/2021            -
   LLC                                                 Coopers

                                                       Rubinstein
   Barclays PLC         2/17/2021                  -   Public Relations    10/27/2021           -
                                                       Inc.

                                                       Quinnipiac
   Cheer America        2/17/2021                  -                       10/27/2021           -
                                                       College

         9.       Plaintiffs have engaged in discovery conferences with most of these businesses and

  individuals. Eight of those respondents have provided approximately 86,000 documents after

  discussions regarding the scope of the documents sought. Rebel Athletic Inc. has steadfastly



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  refused to produce nearly all of its responsive documents and data, and Fusion Elite Plaintiffs filed

  an enforcement action in the Northern District of Texas—Fusion Elite All Stars, et al. v. Rebel

  Athletic Inc., No. 3:21-mc-00151—on July 9, 2021. Rebel has correspondingly asked for an order

  quashing the subpoena in its entirety, and the parties await a ruling from that court. Nfinity is

  likewise refusing to comply with its subpoena, and a similar enforcement action may be required.

         10.     Fusion Elite Plaintiffs served deposition and document subpoenas on two former

  Varsity employees, Brian Elza and Tres LeTard, on September 14, 2021. Mr. Elza’s deposition

  took place on November 16 and 17, 2021. Mr. LeTard’s deposition is scheduled for November 22,

  2021. Fusion Elite Plaintiffs also served deposition and document subpoenas on former Varsity

  employee Marlene Cota on November 3, 2021, and Ms. Cota’s deposition is tentatively scheduled

  for January 11, 2022.

         11.     Fusion Elite Plaintiffs served nine notices of deposition on Varsity on October 18,

  2021 pursuant to Rule 30(b)(1), scheduling the depositions of current Varsity employees.

  Depositions of Varsity employees and executives are scheduled to take place on December 9 and

  10, January 18 and 19, and February 1 and 2. Plaintiffs are waiting for Varsity to confirm available

  dates for the remaining five witnesses.

         12.     Varsity employee Damianne Albee’s deposition, which was noticed by Fusion Elite

  Plaintiffs and Jones plaintiffs, was scheduled for November 18, 2021. When the Court granted

  Plaintiffs’ motion allowing for additional deposition time where multiple notices are served,

  Varsity informed Fusion Elite Plaintiffs that Ms. Albee’s deposition would have to end promptly

  at 5:00 pm and could not extend to the following day. The parties are now in the process of

  rescheduling the deposition.




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         13.     Plaintiffs served a notice of deposition on Varsity, pursuant to Rule 30(b)(6), on

  November 15, 2021. Given the scope of the litigation, Plaintiffs anticipate that a large number of

  designees will be deposed on the topics covered in that notice.

         14.     Varsity requested the depositions of various plaintiff witnesses on October 14,

  2021. Depositions of Lauren Fischer and Time Gurske of Plaintiff Spirit Factor are scheduled for

  December 7 and 9, 2021; the deposition of Rebecca Foster of Plaintiff Stars & Stripes is scheduled

  for December 21, 2021; and the deposition of Sarah Minzghor of Plaintiff Fusion Elite is scheduled

  for December 23, 2021. The parties are also negotiating dates for five other plaintiff depositions.

  Plaintiffs responded to Varsity and USASF’s discovery requests in November and December 2020

  and January and June 2021.

         15.     Eric Cramer and Mark Suter, who are also Interim Co-Lead Counsel in Fusion Elite

  and are taking depositions in this matter (including those of Mr. Elza and Mr. LeTard), are also

  counsel for direct purchaser plaintiffs in In Re Capacitors Antitrust Litigation, pending in the

  Northern District of California (No. 3:14-cv-03264-JD). A multi-week liability and damages trial

  is scheduled to begin in Capacitors on November 29, 2021, and both Mr. Cramer and Mr. Suter

  will be unavailable for depositions during that time.

         16.     I declare under penalty of perjury under the laws of the United States that the

  foregoing is true and correct to the best of my knowledge.



         Executed this 18th day of November, 2021 in Washington, DC.


                                                   s/ Katherine Van Dyck
                                                   Katherine Van Dyck




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